                                           IN THE UNITED STATES DISTRICT COURT
                                           FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83. l(D) AND LOCAL
                                               CRIMINAL RULE 57.4
              In Case Number 1:22-CV-00352-RDA-IDD Case Name Ubiquity, Inc., v. Brian Krebs and Krebs on Security, LLC.
              Party Represented by Applicant: Brian Krebs and Krebs on Security, LLC.

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) _Ja__y.....,M_a_rs_ha_ll_W_o_lm_a_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Bar Identification Number433791                           State _c_on_n_ect_i_cu_t_ __
Finn Name Randazza Legal Group, PLLC
Finn Phone # 702-420-2001                            Direct Dial # 102-420-2001             FAX# 702-297-6584
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E-Mail Address ecf@randazza.com                             -----------'
Office Mailing Address 100 Pearl Street; 14th Floor, Hartford, CT 06103

Name(s) offederal district court(s) in which I have been admitted _s_ee_A_t_ta_ch_e_d_D_ec_la_ra_tio_n_a_t~11_4._ _ _ _ _ _ _ _ _ _ __

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

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Hteffteer ef the eftf. Please see attached regarding prior proceedings.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am D am not li]a full-time employe~ of the United States of America, and if so, r         est exemption from the admission fee.
                                                                                                LfJ....__ _ _ _ __


I, the undersigned, do certify that I am a member of the bar of this Court, not ated to the applicant; that I know the applicant
personally, that the said applicant poss¢sses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal stat~ment. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

      Plaintiff has indicated that it takes no                                                                  May 10,2022
      position on the Application.                 (Signature)                                                 (Date)
                                                    David S. Wachen                                             96363
                                                   (Typed or Printed Name)                                     (VA Bar Number)
Court Use Only:

Clerk's Fee Paid Dor Exemption Granted 0

The motion for admission is GRANTED D or DENIED D




                           (Judge's Signatijre)                                               (Date)
